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701 Brickell Avenue, Suite 3300 | Miami, FL 33131 | T 305.374.8500 | F 305.789.7799
Holland & Knight LLP | www.hklaw.com


Jesús E. Cuza
305 789 7513
jesus.cuza@hklaw.com


August 1, 2024

VIA ECF

Hon. Jennifer H. Rearden
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

         Re: Sound Around, Inc. v. Friedman et al., Case No. 1:24-cv-01986

Dear Judge Rearden,

        We represent Plaintiff Sound Around, Inc. (“Plaintiff”) in the above-referenced matter. As
the Court is aware, Plaintiff filed a Motion for Preliminary Injunction (“Motion”) on April 22,
2024, which is now fully briefed. Since the filing of the Motion, the parties have engaged in a
Rule 26(f) conference. In addition, Defendants Moises Friedman, Shulim Eliezer Ilowitz, ML
Imports, Inc., Cyrf, Inc., LRI Group, LLC, MDF Marketing LLC, and World Group Import, LLC
(“Defendants”) also filed a Motion to Dismiss the Complaint [ECF No. 52], which was fully
briefed as of July 12, 2024.

        Pursuant to Rule 5.G. of Your Honor’s Individuals Rules and Practices in Civil Cases
regarding Preliminary Injunction Motions, Plaintiff is aware that the Court “generally follows the
rules in 7.E. for the conduct of non-jury trials.” Pursuant to Rule 7.E., Your Honor instructs that
the parties shall submit “[c]opies of affidavits constituting the direct testimony of each [] witness”
by a date certain, after which time, counsel for each party shall submit a list of affiants the party
wishes to cross-examine.

        Plaintiff’s counsel has unsuccessfully attempted to confer with Defendants’ counsel
regarding this process and the exchange of affidavits consistent with Your Honor’s procedures.
While Plaintiff’s counsel is aware that Defendants’ attorneys were in trial until July 23, 2024,
Plaintiff’s counsel reached out to Defendants’ counsel immediately after the trial ended to schedule
a conference to discuss scheduling of the preliminary injunction hearing and complying with Rule
7.E of Your Honor’s Individual Rules and Practices. Having received no response, counsel
renewed that request on July 30, 2024, proposing the parties confer regarding the Motion.
Defendants’ counsel indicated that she did not believe there is anything to be done at this point
because the hearing is not yet scheduled. See Exhibit A.

        Given that Defendants’ counsel’s trial is now concluded, Plaintiff requests that the Court
enter an order, consistent with Rules 5.G. and 7.E. of Your Honor’s Rules and Procedures, setting
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a date on which the parties can exchange and file the affidavits of direct testimony of their
witnesses, after which time the parties can identify those witnesses they seek to cross-examine
during the hearing on the Motion. In particular, Plaintiff proposes the following schedule:

           x   The parties shall submit copies of affidavits (with Exhibits) constituting the direct
               testimony of each party’s respective witnesses on or before Friday, August 9, 2024;

           x   Consistent with Rule 7.E., counsel for each party shall submit a list of all affiants
               whom he or she intends to cross-examine at the hearing on or before Wednesday,
               August 14, 2024; and

           x   The Court set a hearing on the Motion to be heard on a date convenient for the
               Court as soon as possible in August 2024,1 or on the earliest convenient date for
               Your Honor.

       Consistent with Your Honor’s Individual Rules Practices, Plaintiff’s counsel is also
submitting courtesy copies of all filings related to the Motion simultaneously with the filing of this
correspondence.

                                                      Respectfully submitted,

                                                      HOLLAND & KNIGHT LLP

                                                      By: /s/ Jesus E. Cuza
                                                      Jesus E. Cuza (Admitted PHV)
                                                      Florida Bar No. 428991
                                                      Email: jesus.cuza@hklaw.com
                                                      Rebecca Canamero (Admitted PHV)
                                                      Florida Bar No. 86424
                                                      Email: rebecca.canamero@hklaw.com
                                                      Annelise Del Rivero
                                                      Florida Bar No. 1003234 (Admitted PHV)
                                                      Email: annelise.delrivero@hklaw.com
                                                      701 Brickell Avenue, Suite 3300
                                                      Miami, Florida 33131

                                                      and

                                                      By: /s/ Marisa Marinelli
                                                      Marisa Marinelli
                                                      31 West 52΀ᵈ Street
                                                      New York, NY 10019
                                                      (212) 513-3200

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 Plaintiff notes that its principal witness is unavailable as he has a pre-planned travel outside the
country on August 12-13 and 26-30, and thus respectfully requests that the Court not set the
hearing on those dates.

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                                              Marisa.Marinelli@hklaw.com

                                              Attorneys for Plaintiff Sound Around, Inc.

cc:   Nicholas Fortuna, Esq., nfortuna@allynfortuna.com
      Megan Jeane Muoio, Esq., mmuoio@allynfortuna.com
      Michael J. Byrne, Esq., mailto:mjb@bonlaw.com
      Paul Novak, Esq., mailto:pn@bonlaw.com




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